              Case 5:18-cv-06228-EJD Document 63 Filed 12/07/20 Page 1 of 4




 1 JOSHUA HILL JR. (SBN 250842)
   JHill@mofo.com
 2 MORRISON & FOERSTER LLP
   425 Market Street
 3 San Francisco, California 94105-2482
   Telephone: 415.268.7000
 4 Facsimile: 415.268.7522

 5 JANIE F. SCHULMAN (SBN 130461)
   JSchulman@mofo.com
 6 NILES A. PIERSON (SBN 307115)
   NPierson@mofo.com
 7 MORRISON & FOERSTER LLP
   707 Wilshire Boulevard, Suite 6000
 8 Los Angeles, California 90017-3543
   Telephone: 213.892.5200
 9 Facsimile: 213.892.5454

10 Attorneys for Plaintiff

11 DAVID L. ANDERSON (CABN 149604)
   United States Attorney
12 SARA WINSLOW (DCBN 457643)
   Chief, Civil Division
13 MICHELLE LO (NYBN 4325163)
   Assistant United States Attorney
14        450 Golden Gate Avenue, Box 36055
          San Francisco, California 94102
15        Telephone: (415) 436-7180
          Facsimile: (415) 436-6748
16        Email: Michelle.Lo@usdoj.gov

17 Attorneys for Defendants

18                                  UNITED STATES DISTRICT COURT

19                               NORTHERN DISTRICT OF CALIFORNIA

20                                          SAN JOSE DIVISION

21   INTERNATIONAL TECHNOLOGICAL                       )   Case No. 5:18-cv-06228-EJD
     UNIVERSITY FOUNDATION, INC.,                      )
22                                                     )   Hon. Edward J. Davila
                           Plaintiff,                  )
23                                                     )   RESPONSE TO ORDER TO SHOW CAUSE
             v.                                        )   RE SETTLEMENT
24                                                     )
     CHAD F. WOLF, in his official capacity as Acting )
25   Secretary of the Department of Homeland Security, )
     et al.,                                           )
26                                                     )
                           Defendants.                 )
27                                                     )

28
     RESPONSE TO ORDER TO SHOW CAUSE RE SETTLEMENT
     18-6228 EJD
     sf-4388778
                  Case 5:18-cv-06228-EJD Document 63 Filed 12/07/20 Page 2 of 4




 1          On August 12, 2020, Plaintiff, International Technological University Foundation, Inc. (“ITU”),

 2 and Defendants, Chad F. Wolf, in his official capacity as Acting Secretary of the Department of

 3 Homeland Security, United States of America, U.S. Department of Homeland Security, and U.S.

 4 Immigration and Customs Enforcement, Student and Exchange Visitor Program (together,

 5 “Defendants”) (hereafter collectively referred to as “the Parties”), filed a Notice of Settlement advising

 6 the Court that the Parties had reached a settlement in principle. ECF No. 59. On August 13, 2020, the

 7 Court issued an Order to Show Cause and directed the Parties to file on or before October 19, 2020, a

 8 joint statement setting forth the status of settlement efforts as well as the amount of additional time

 9 necessary to finalize and file a dismissal. The Parties filed a Response to this Court’s August 13, 2020

10 Order to Show Cause on October 19, 2020 notifying the Court that additional time is required to finalize

11 and file a dismissal. ECF No. 61. By Order dated October 20, 2020, the Court directed the Parties to

12 file on or before December 7, 2020, a joint statement setting forth the status of settlement efforts as well

13 as the amount of additional time necessary to finalize and file a dismissal. ECF No. 62.

14          The parties respond as follows:

15          1.        Over the past two months, the Parties have finalized the written settlement agreement.

16          2.        The Parties have also nearly finalized resolution of a related matter and expect that matter

17 to be resolved at the same time that they finalize the settlement agreement and dismissal in this case.

18          3.        The Parties require additional time to address a few remaining complexities and to obtain

19 the necessary approvals and signatures in order to finalize their settlement efforts. The approval process

20 has been affected, in part, by recent changes in the composition of Plaintiff ITU’s Board of Trustees.

21

22

23

24

25

26

27

28 RESPONSE TO ORDER TO SHOW CAUSE RE SETTLEMENT
     18-6228 EJD
                                                           1
     sf-4388778
                  Case 5:18-cv-06228-EJD Document 63 Filed 12/07/20 Page 3 of 4




 1          4.        Based on their discussions, the Parties believe that additional time until December 31,

 2 2020 will be necessary to finalize and file a dismissal. The Parties respectfully request that the Court

 3 vacate the hearing scheduled for December 17, 2020, or reset it for a time after December 31, 2020.

 4

 5 Dated: December 7, 2020

 6                                                     Respectfully Submitted,

 7    MORRISON & FOERSTER LLP                           DAVID L. ANDERSON
                                                        UNITED STATES ATTORNEY
 8
      By: /s/ Joshua Hill                               By: /s/ Michelle Lo
 9        JOSHUA HILL JR.                                   Michelle Lo
                                                            Assistant United States Attorney
10          Attorneys for Plaintiff                         Attorneys for Federal Defendants
            INTERNATIONAL
11          TECHNOLOGICAL UNIVERSITY
            FOUNDATION, INC.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28 RESPONSE TO ORDER TO SHOW CAUSE RE SETTLEMENT
     18-6228 EJD
                                                           2
     sf-4388778
                  Case 5:18-cv-06228-EJD Document 63 Filed 12/07/20 Page 4 of 4




 1                            ATTESTATION (CIVIL LOCAL RULE 5-1(I)(3))

 2          In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this

 3 document has been obtained from the signatories.

 4

 5   Dated: December 7, 2020                       MORRISON & FOERSTER LLP

 6

 7                                                             /s/ Joshua Hill
                                                              Joshua Hill Jr.
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28 RESPONSE TO ORDER TO SHOW CAUSE RE SETTLEMENT
     18-6228 EJD
                                                          3
     sf-4388778
